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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

SANDRA G. THOMPSON,

      Plaintiff,

v.                                                 Case No: 8:23-cv-902-CEH-TGW

ASHWORTH COLLEGE,

      Defendant.
___________________________________/

                                     ORDER

      Before the Court is Plaintiff’s Notice of Voluntary Dismissal (Doc. 12). In

accord with the Notice of Voluntary Dismissal, it is ORDERED:

      1)     Plaintiff’s individual claims against Defendant are dismissed, with

prejudice. The claims of the class against Defendant are dismissed without prejudice.

      2)     The Clerk is directed to terminate any pending motions and deadlines

and CLOSE this case.

      DONE AND ORDERED in Tampa, Florida on July 3, 2023.




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Counsel of Record
